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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

SUNBELT RENTALS, INC.,

             Plaintiff,

v.                                               Case No: 2:20-cv-749-FtM-38MRM

JASON MONAHAN,

              Defendant.
                                          /

                             AGREED INJUNCTION1

       Before the Court is the parties’ Agreed Injunction (Doc. 50). Plaintiff

Sunbelt Rentals, Inc. filed a Motion for Preliminary Injunction. Sunbelt and

Defendant Jason Monahan entered a settlement and compromise. And they

stipulated to the entry of the Agreed Injunction as shown by their lawyers’

signatures on their proposed filing and confirmed at a status conference on

January 7, 2021.

       Having considered the record and being sufficiently advised, the Court

approves the Agreed Injunction and orders it will remain in place for the time




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periods stated below unless otherwise ordered. Also, the Court dismisses the

case with prejudice at the parties’ request.

      Accordingly, it is now

      ORDERED:

      1. From the date of entry of this Agreed Injunction and through August

         4, 2021 during Monahan’s employment with AXIS Portable Air LLC

         (“AXIS”) Monahan’s position with AXIS will be as Branch Manager of

         AXIS’s Tucson, Arizona branch. During that time period, Monahan

         is not permitted, directly or indirectly, to hold an equity stake in

         AXIS.

      2. From the date of entry of this Agreed Injunction and through August

         4, 2021 during Monahan’s employment with AXIS Monahan’s

         primary duties for AXIS are limited to the duties of identifying

         potential customers for AXIS within the Tucson, Arizona area (which

         area does not include any area within 50 miles of 3832 East Roeser

         Road, Phoenix, Arizona 85040) (“Tucson Area”); attempting to make

         contact and making contact with potential and actual customers

         located in the Tucson Area; renting products to customers located in

         the Tucson Area; delivering and setting up products and services

         ordered by AXIS customers in the Tucson Area; supervising, leading

         and directing Tucson branch staff; purchasing supplies for the Tucson




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         branch; and cleaning and making equipment ready for rent at the

         Tucson branch. It shall not be a violation of this Agreed Injunction

         for Monahan to perform other duties for AXIS beyond those listed in

         this Section 2, provided that those duties do not violate any other

         portion of this Agreed Injunction.

      3. From the date of entry of this Agreed Injunction and through August

         4, 2021 Monahan shall not provide any information, or participate,

         directly or indirectly, in any discussions with David Walling or other

         AXIS employees regarding the following topics: AXIS’s overall

         financial or growth plans; AXIS’s solicitation or hiring of any

         employees, except for those who report to the Tucson Branch Manager

         in the AXIS Tucson branch; AXIS company-wide financial review or

         analysis; AXIS’s acquisition of other companies; AXIS’s identification

         of new markets in which to open new branches; or AXIS’s

         identification of new products to rent that it does not rent as of the

         date of this Agreed Injunction. It shall not be a violation of this

         Agreed Injunction for Monahan to provide AXIS any enterprise

         valuation analysis or related enterprise valuation services to assist

         with any total or partial sale of any sort of, or investment of any

         nature in, AXIS to or by any private equity third party.




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      4. From the date of entry of this Agreed Injunction and through August

         4, 2021 Monahan shall not, directly or indirectly through David

         Walling or others:

               a. provide or solicit the provision of climate control products or

                  services to any person or entity who purchased or leased

                  products or services from Sunbelt at any time from August

                  5, 2019 through August 5, 2020 and with whom or which

                  Monahan had contact on behalf of Sunbelt during August 5,

                  2019 through August 5, 2020;

               b. contact for business acquisition purposes or respond to any

                  inquiry concerning a potential or actual acquisition from any

                  representatives of any companies that Monahan was

                  targeting as potential acquisitions for Sunbelt during

                  Monahan’s employment with Sunbelt;

               c. recruit or solicit on behalf of AXIS the employment of any

                  person who at any time from August 5, 2019 through August

                  5, 2020 was employed by Sunbelt, nor shall Monahan

                  respond to any inquiries from any such Sunbelt employee

                  regarding employment with AXIS; or

               d. request or advise any customer or vendor with whom or

                  which Monahan had contact on behalf of Sunbelt from




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                  August 5, 2019 through August 5, 2020 to withdraw, curtail

                  or cancel its business dealings with Sunbelt.

         5. From the date of entry of this Agreed Injunction and forward,

            Monahan will not share with David Walling or any other AXIS

            agent or employee any non-public Sunbelt information gathered by

            Sunbelt and shared with Monahan regarding acquisitions,

            greenfields, growth, product development, market analysis, and

            profit center financial information.

         6. The Court RETAINS continuing jurisdiction, until August 4,

            2021, to enforce the terms of this Agreed Injunction.

         7. This case is DISMISSED with prejudice. Costs and expenses

            are taxed against the party incurring the same.

         8. The Clerk is DIRECTED to enter judgment dismissing the case

            with prejudice.

         9. The Clerk is DIRECTED to terminate any pending motions or

            deadlines and close the file.

      DONE and ORDERED in Fort Myers, Florida on January 8, 2021.




Copies: All Parties of Record




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